Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 1 of 8




                  EXHIBIT I I
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 2 of 8
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 3 of 8
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 4 of 8
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 5 of 8
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 6 of 8
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 7 of 8
Case 1:01-cv-12257-PBS Document 6208-12 Filed 06/29/09 Page 8 of 8
